     Case 24-16069-RG           Doc 22-1 Filed 09/06/24 Entered 09/06/24 11:19:34                      Desc Ntc
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                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                         Case No.: 24−16069−RG
                                         Chapter: 13
                                         Judge: Rosemary Gambardella

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Keith Simmons                                            Bonnie L Simmons
   3271 Westpointe Drive                                    3271 Westpointe Drive
   Franklin, IN 46131                                       Franklin, IN 46131
Social Security No.:
   xxx−xx−5871                                              xxx−xx−5484
Employer's Tax I.D. No.:


                            NOTICE OF ORDER CONFIRMING CHAPTER 13 PLAN


        NOTICE IS HEREBY GIVEN that an Order Confirming the Chapter 13 plan was entered on September 6,
2024.




Dated: September 6, 2024
JAN: slm

                                                                         Jeanne Naughton
                                                                         Clerk
